         Case: 23-10118-BAH Doc #: 20 Filed: 06/06/23 Desc: Notice Regarding Reaffirmation
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                             UNITED STATES BANKRUPTCY COURT
                                            District of New Hampshire
                                                 55 Pleasant Street
                                                     Room 200
                                            Concord, NH 03301−3941


In re:                                                                     Bk. No. 23−10118−BAH
                                                                           Chapter 7
Todd Jeffrey Bellows
Lorraine Lynn Bellows
     Debtors




                         NOTICE REGARDING REAFFIRMATION AGREEMENT


On June 1, 2023, a reaffirmation agreement between the debtors and creditor Savings Bank of Walpole was filed
(Doc. No. 18) (the "Reaffirmation Agreement"). Upon review of the Reaffirmation Agreement and in accordance
with 11 U.S.C. § 524(d), no hearing is required and no order approving or disapproving the Reaffirmation Agreement
is necessary because:

    The Reaffirmation Agreement relates to a consumer debt secured by real property. 11 U.S.C. § 524(c)(6)(B).

    The Reaffirmation Agreement is signed by an attorney who represented the debtors during the course of
negotiating the Reaffirmation Agreement and indicated the Reaffirmation Agreement does not impose an undue
hardship. 11 U.S.C. § 524(c)(3).

    The Reaffirmation Agreement is signed by an attorney who represented the debtor during the course of
negotiating the Reaffirmation Agreement and indicated the Reaffirmation Agreement does impose an undue hardship;
but the presumption does not apply as the creditor is a credit union. 11 U.S.C. § 524(c)(3) and (m)(2).


Date: June 6, 2023                                                         Kristie Trimarco
                                                                           Clerk of Court
                                                                           By: /s/ A. Wade
                                                                           Deputy Clerk

Form reafntc−829
